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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MATIYA J. FONTAINE,


                          Plaintiff,                                                    ORDER
                                                                                   21 CV 2375 (LDH) (LB)
        -against-

LA CABANA APARTMENTS, LLC, EMPIRE
STATE MANAGEMENT CO., LLC, EPHRAIM
FRUCHTHANDLER, and MATIS TYBERG,

                           Defendants.
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BLOOM, United States Magistrate Judge:
        The Court held a status conference in plaintiff’s housing discrimination case on

November 17, 2021. Plaintiff stated that she had filed a request to withdraw the case without

prejudice yesterday. Plaintiff confirmed on the record that it was her intention to withdraw the

case without prejudice.

SO ORDERED.



                                                                                /S/
                                                                         LOIS BLOOM
                                                                         United States Magistrate Judge
Dated: November 17, 2021
       Brooklyn, New York




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